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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

JOHN DOE,

              Plaintiff,

v.                                                Case No.: 2:23-CV-00245-SPC-KCD


FLORIDA GULF COAST UNIVERSITY
BOARD OF TRUSTEES,

           Defendant.
_____________________________________/

                           NOTICE OF A RELATED ACTION1

       Under Local Rule 1.07(c), “lead counsel has a continuing duty to notify the

judge of a related action pending in the Middle District or elsewhere.” But for removal

cases, the parties need not identify the original state-court proceeding in this

Notice. Notwithstanding the instruction in the Uniform Case Management Report, a

Notice of Related Action must be filed in all cases in the Fort Myers Division, even if

no related action exists.

       Counsel and unrepresented parties must also inform the Court about any related

cases previously filed with any court or administrative agency. And counsel and

unrepresented parties have a continuing duty to promptly inform the Court of any

newly filed similar or successive cases by filing an Amended Notice.

       I certify that the above-captioned case:
1
 When filing via CM/ECF, use the “Notice of a Related Action” event under Civil Events-Other
Filings-Notices.
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   ☒      IS related to pending or closed civil or criminal case(s) previously filed in
          this Court, or any other federal or state court, or administrative agency as
          indicated below:

          John Doe v. Florida Gulf Coast University Board of Trustees,
          Case No. 21-CA-960, Twentieth Judicial Circuit, Lee County Florida
          (closed)
          Click or tap here to enter text.



          IS NOT related to any pending or closed civil or criminal case filed with
   ☐      this Court, or any other federal or state court, or administrative agency.
          Click or tap here to enter text.
          Click or tap here to enter text.



       Dated this 31st day of May, 2023.
                                             Respectfully submitted,

                                             /s/Sacha Dyson
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